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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

LISA CRUMP,                                        §
                        PLAINTIFF,                 §
                                                   §
V.                                                 § CIVIL CASE NO. 3:20-CV-3630-E-BK
                                                   §
DALLAS AREA RAPID TRANSIT,                         §
               DEFENDANT.                          §

                                               ORDER
        Pursuant to 28 U.S.C. § 636(b) and Special Order 3, this pro se case was referred to the

United States magistrate judge for judicial screening. Before the Court is Plaintiff’s Motion to

Appoint Counsel. Doc. 6. The motion is DENIED without prejudice to Plaintiff’s right to

present additional facts showing circumstances that establish the Court should exercise its

discretion to appoint counsel.

        Title VII provides for the appointment of counsel “in such circumstances as the court

may deem just . . . .” 42 U.S.C.A. § 2000e-5(f)(1); Caston v. Sears, Roebuck & Co., 556 F.2d

1305, 1310 (5th Cir. 1977). In determining whether to appoint counsel, a court considers “(1)

the merits of the plaintiff’s claims of discrimination; (2) the efforts taken by the plaintiff to

obtain counsel; and (3) the plaintiff’s financial ability to retain counsel.” Gonzalez v. Carlin,

907 F.2d 573, 580 (5th Cir. 1990). No one factor is conclusive. Id.

        Additionally, a court may appoint counsel to a plaintiff proceeding in forma pauperis if

the case presents “exceptional circumstances.” 28 U.S.C.A. § 1915(e)(1); see Castro Romero v.

Becken, 256 F.3d 349, 353-354 (5th Cir. 2001) (finding an in forma pauperis plaintiff is not

entitled to court-appointed counsel as a matter of law); Ulmer v. Chancellor, 691 F.2d 209, 212
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(5th Cir. 1982) (same).    In determining whether a case presents exceptional circumstances, the

court may consider the following factors:     (1) the type and complexity of the case; (2) whether

the indigent plaintiff is capable of adequately presenting his case; (3) whether the indigent is in a

position to investigate adequately the case; and (4) whether the evidence will consist in large part

of conflicting testimony so as to require skill in the presentation of evidence and in cross

examination.    Ulmer, 691 F.3d at 213; see also Baranowski v. Hart, 486 F.3d 112, 126 (5th Cir.

2007).

         Here, the motion to appoint counsel is unsupported and conclusory. Plaintiff does not

explain her efforts, if any, to obtain counsel.   In addition, Plaintiff has not shown that the case

presents circumstances warranting the appointment of counsel.

         SO ORDERED on December 21, 2020.




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